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6                          UNITED STATES DISTRICT COURT
                         WESTERN DISCTRICT OF WASHINGTON
7                                   AT SEATTLE

8      UNITED STATES OF AMERICA,                        NO. CR 21-181 RSM
9                                  Plaintiff,           Order Continuing Trial Date and
                                                        PTM Deadline
10     v.
11
       SYTREL DEFRANCO BUTLER; LEO
12     MYRON DICKERSON,

13                                 Defendants.

14                                              Order
15          Sytrel Butler moves the Court to continue his trial, currently set for January
16   10, 2022, to sometime on or before May 30, 2022. The defendant states that he
17
     needs more time to review the recently provided discovery, to investigate his case,
18
     and to address the companion Supervised Release Revocation Hearing (CR 18-001
19
     RSM) in this Court. The Government reviewed this motion and does not object;
20
     counsel for co-defendant Leo Myron Dickerson has advised the Court that Mr.
21
     Dickerson does not object to a continuance. Defendant Butler has signed a speedy
22
                                                  1
23
      Order Continuing Trial and PTM Deadline                             PHIL BRENNAN, Esq.
                                                                              P.O. Box 20432
                                                                             Seattle, WA 98102
                                                                              (206) 372-5881
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1    trial waiver through July 2022; defendant Dickerson will execute a waiver of speed

2    trial, to be filed no later than December 15, 2021.
3           The Court GRANTS the motion. In doing so, it makes the following
4
     findings:
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            1. The ends of justice served by granting this continuance outweigh the best
6
     interests of the public and the defendants in a speedy trial. 18 U.S.C. §
7
     3161(h)(7)(A).
8
            2. Proceeding to trial absent adequate time for the defense to prepare would
9
     result in a miscarriage of justice. 18 U.S.C. §3161(h)(7)(B)(i).
10

11          3. The Court finds that the failure to grant the continuance would deny the

12   defense the reasonable time necessary for effective preparation, taking into account

13   the exercise of due diligence. Mr. Butler and Mr. Dickerson need sufficient time to

14   review the discovery in this case (totaling roughly 1062 pages), consult with counsel,

15   investigate the case, and determine how best to defend this case. They also need
16   additional time to prepare for the related Supervised Release Revocation in this
17
     Court (CR18-001RSM (Butler) and CR20-119RSM (Dickerson)). The Court further
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     fines that the Covid-19 pandemic continues to be a concern as set forth in General
19
     Order 13-21, which Mr. Butler cites with regard to the challenge of
20
     locating/interviewing possible witnesses, meeting with counsel at the FDC, etc.
21
     Thus, based on Mr. Butler’s Motion to Continue and without objection by the co-
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                                                2
23
      Order Continuing Trial and PTM Deadline                              PHIL BRENNAN, Esq.
                                                                                  P.O. Box 20432
                                                                                 Seattle, WA 98102
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1    defendant or the government, and the Court’s review of the files and records in this

2    case, the Court finds that the trial should be continued so as to allow the defendant
3    the reasonable time to defend his case.
4
            Accordingly, IT IS HEREBY ORDERED that the trial date is continued to
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     May 16, 2022 at 9:00 AM. The new Pretrial Motions Deadline shall be April 7,
6
     2022. The resulting period of delay from the filing date of Defendant’s Motion until
7
     the new trial date is excluded for speedy trial purposes under 18 U.S.C. §
8
     3161(h)(7)(A) and (B).
9
            IT IS SO ORDERED this 1st day of December, 2021.
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12
                                                    RICARDO S. MARTINEZ
13                                                  CHIEF UNITED STATES DISTRICT
                                                    JUDGE
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      Order Continuing Trial and PTM Deadline                              PHIL BRENNAN, Esq.
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